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SECTION III - DESIGNATION OF LOCAL COUNSEL
 Tucker, Caroline
 Designee's Name (Last Name, First Name & Middle Initial)
 Siri & Glimstad LLP
 Firm/Agency Name
 700 S. Flower Street                                             (213) 376-3739                        (646) 417-5967
                                                                   Telephone Number                     Fax Number
 Suite 1000
 Street Address                                                   ctucker@sirillp.com
 Los Angeles, CA 90017                                            Email Address

 City, State, Zip Code                                             261377
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated August 24, 2021                               Caroline Tucker



                                                                  Designee's Signature
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)


  List all state and federal courts...

  Name of Court                                                  Date of Admission                      Good Standing
  U.S. District Court, Northern District of Ohio                 12/06/2004                             Yes
  U.S. Court of Appeals for the Sixth Circuit                    11/22/2004                             Yes
  U.S. Court of Appeals for the D.C. Circuit                     12/20/2004                             Yes
  U.S. District Court, Eastern District of Kentucky              2/7/2006                               Yes
  U.S. District Court, Western District of Kentucky              1/13/2006                              Yes




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               THE SUPREME COURT of OHIO
                       CERTIFICATE OF GOOD STANDING



         I, GINA WHITE PALMER, Director of the Attorney Services Division of the
    Supreme Court of Ohio, do hereby certify that I am the custodian of the records
    of the Office of Attorney Services of the Supreme Court and that the Attorney
    Services Division is responsible for reviewing Court records to determine the status
    of Ohio attorneys. I further certify that, having fulfilled all of the requirements for
    admission to the practice of law in Ohio,


                                  Christopher David Wiest
                              Attorney Registration No. 77931


    was admitted to the practice of law in Ohio on November 8, 2004; has registered as
    an active attorney pursuant to the Supreme Court Rules for the Government of
    the Bar of Ohio; is in good standing with the Supreme Court of Ohio; and is
    entitled to practice law in this state.


                                           IN TESTIMONY WHEREOF, I have
                                           subscribed my name and affixed the seal of
                                           the Supreme Court, this 10th day of
                                           August, 2021.


                                           GINA WHITE PALMER
                                           Director, Attorney Services Division




                                           _______________________________________
                                           Bradley J. Martinez
                                           Attorney Services Counsel




    *77931*
    No. 2021-08-10-1
    Verify by email at GoodStandingRequests@sc.ohio.gov
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